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Exhibit 1
Case 1:13-md-02419-RWZ Document 1258-1 Filed 07/10/14

BRANSTETTER, STRANCH €& JENNINGS, PLLC

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CECIL D. BRANSTETTER, SR.
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JOE P, LENISKE, JR,

DONALD L, SCHOLES

MIKE STEWART

JAMES G, STRANCH, II

J. GERARD STRANCH, IV

Page 2 of 3

ASSOCIATES:

KARLA M, CAMPBELL
BEN GASTEL*

STACEY K. SKILLMAN **

OF COUNSEL:
ROBERT E, RICHARDSON, JR. ***

*

MICHAEL J. WALL

ALSO ADMITTED IN GA

October 9, 2013 ** ALSO ADMITTED IN KY
*** ONLY ADMITTED IN OH

VIA HAND DELIVERY and ELECTRONIC MAIL

Chris J. Tardio

CJ Gideon

Matt Cline

Gideon Cooper & Essary

315 Deaderick St., Suite 1100

Nashville, Tennessee 37238
Re: New England Compounding Center Litigation, MDL No. 2419

Complaints filed in United States District Court for the

Middle District of Tennessee

Dear Gentlemen:

Please find enclosed the common discovery requests propounded upon your clients and
service copies of discovery served upon other defendants. You can return written discovery
responses and responsive documents to me. Further, and pursuant to Judge Saylor’s Order of
June 21, 2013 (Dkt. No. 192) and the PSC’s subsequently filed notice (Dkt. No. 224), copies of
responsive documents should be produced to the appropriate vendors. Enclosed herewith is U.S.
Legal’s production specs that should be used in producing responsive documents to that vendor.

I am also repeating my request that you provide me with available dates for depositions
of Dr. John W. Culclasure, Debra Schamberg, and a 30(b)(6) date for each of the entities you
represent. We believe that we can be ready to take these depositions in December.

Further, I am repeating my request that you provide an update on the approximately
50,000 emails you have previously segregated pertinent to this litigation as part of the discovery
process in the Wayne Reed case, originally filed in state court.

Finally, we have not heard back from you with regards to our request for your initial
disclosures. Please advise when we may expect them.

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Letter to Chris J. Tardio

September 25, 2013
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Should you have any questions or need any additional information, please do not hesitate
to contact me,

Sincerely,

aus a on Lo _ Oe a i
“J. GERARD STRANCH, 1V_ &———~
° Member of PSC and Tennessee Chair
Enclosures as stated

ce: Kristen Johnson Parker
Parties Listed on Certificate of Service on the Enclosed Discovery Requests
